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                   IN THE UNITED STATES DISTRICT COURT                 FILED
                       FOR THE DISTRICT OF MONTANA            NOv
                              BUTTE DIVISION         P.... rRlc   30 2011
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UNITED STATES OF AMERICA,                                                      I(   ~IISSOULA,
                                             CR 11-27-BU-DWM
                          Plaintiff,

             vs.                             FINDINGS & RECOMMENDATION
                                             CONCERNING PLEA
GARY LEE SHEFFIELD,

                          Defendant.


      The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to one count of conspiracy to distribute

methamphetamine in violation of21 U.S.c. §§ 841 (a)(l ) and 846 (Count I), as set

forth in the Indictment. In exchange for Defendant's plea, the United States has

agreed to dismiss Counts II and III of the Indictment.

      After examining the Defendant under oath, I have made the following

determinations:

      I. That the Defendant is fully competent and capable of entering an

informed and voluntary plea,

      2. That the Defendant is aware of the nature of the charge against him and

consequences of pleading guilty to the charge,

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      3. That the Defendant fully understands his constitutional rights, and the

extent to which he is waiving those rights by pleading guilty, and

      4. That the plea of guilty is a knowing and voluntary plea, supported by an

independent basis in fact sufficient to prove each of the essential elements of the

offense charged.

      The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that he fully understands each and every

provision of the agreement and that all of the statements in the Plea Agreement are

true. Therefore, I recommend that the Defendant be adjudged guilty of Count I of

the Indictment, and that sentence be imposed. I further recommend that Counts II

and III of the Indictment be dismissed.

      This report is forwarded with the recommendation that the Court defer

a decision regardin& acceptance until the Court has reviewed the Plea

Agreement and the presentence report.

      DATED this 30th day of November, 201 1.




                                             iah C. Lynch
                                           ted States Magistrate Judge




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